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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CHRISTOPHER NILES,

              Plaintiff,                         Case No. 2:23-cv-00153-MJH
v.

MCCANDLESS HOTEL OWNERSHIP, LLC,

              Defendant.

                    NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Christopher Niles hereby voluntarily

dismisses without prejudice his claims against Defendant McCandless Hotel Ownership, LLC.


Dated: March 6, 2023                       Respectfully Submitted,

                                          /s/ R. Bruce Carlson
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